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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

INVISTA NORTH AMERICA S.A.R.L,
and AURIGA POLYMERS INC.,

Plaintiffs,

M&G USA CORPORATION and

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)
)
Vv. ) Civ. No. 11-1007-SLR
)
M&G POLYMERS USA, LLC, )

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Defendants.

MEMORANDUM ORDER

At Wilmington this ior day of May, 2016, having reviewed plaintiffs’ motion to
reconsideration and the papers filed in connection therewith;

IT IS ORDERED that said motion (D.I. 720) is denied, to the extent and for the
reasons that follow:

1. Standard of review. A motion for reconsideration is the “functional
equivalent” of a motion to alter or amend judgment under Federal Rule of Civil
Procedure 59(e). See Jones v. Pittsburgh Nat'l Corp., 899 F.2d 1350, 1352 (3d Cir.
1990) (citing Fed. Kemper Ins. Co. v. Rauscher, 807 F.2d 345, 348 (3d Cir. 1986)). The
standard for obtaining relief under Rule 59(e) is difficult to meet. The purpose of a
motion for reconsideration is to “correct manifest errors of law or fact or to present
newly discovered evidence.” Max's Seafood Cafe ex rel. Lou—Ann, Inc. v. Quinteros,

176 F.3d 669, 677 (3d Cir. 1999). A court should exercise its discretion to alter or
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amend its judgment only if the movant demonstrates one of the following: (1) a change
in the controlling law; (2) a need to correct a clear error of law or fact or to prevent
manifest injustice; or (3) availability of new evidence not available when the judgment
was granted. See id. A motion for reconsideration is not properly grounded ona
request that a court rethink a decision already made and may not be used “as a means
to argue new facts or issues that inexcusably were not presented to the court in the
matter previously decided.” Brambles USA, Inc. v. Blocker, 735 F.Supp. 1239, 1240 (D.
Del. 1990); see also Glendon Energy Co. v. Borough of Glendon, 836 F.Supp. 1109,
1122 (E.D. Pa. 1993).

2. Analysis. The thrust of plaintiffs’ motion is not directed at the court's decision
to stay the injunction’ but at the amount and manner of payment of the royalty rate to
be paid by defendants pending the outcome of the administrative proceedings.
Plaintiffs first argue that the court misapprehended the agreement reached by the
parties at the damages phase of the case. Rather than litigate damages, the parties
agreed on a lump sum payment for past infringement; to wit, $556,000 based on
approximately 55.6 million pounds of PoliProtect product defendants sold from the time
the ‘216 patent issued until the injunction order took effect. Mathematically, defendants
paid plaintiffs one (1) cent per pound of PoliProtect resin sold.

3. The court recognizes that it did not engage in a more extensive reasonable
royalty analysis. The court notes that neither did plaintiffs - until now, with plaintiffs

urging the court to impose a royalty rate of four (4) cents per pound of PoliProtect resin

‘The court declines to reconsider its decision in this regard, based on the lack of
any substantive argument supporting such.

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imported into the United States, manufactured or sold in the United States, or exported
from the United States. The court declines to embrace plaintiffs’ late presentation for
immediate implementation.

4. However, the court notes that it did not intend its December 28, 2015
memorandum order to be the final word on damages related to future infringement. As
the court understood the circumstances, it was being asked to put a place holder in the
Delaware litigation to afford some measure of protection to plaintiffs, but also to reflect
the changed status of the ‘216 patent before the PTO and of plaintiffs’ competing
products in the marketplace. The court assumed that, if the validity of the ‘216 patent
were preserved, the parties would either resolve the issue of future damages by
settlement or by litigation. Therefore, the status quo will be maintained? until the fate of

the ‘216 patent is determined.

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United States District Judge

“In other words, that the royalty rate of one (1) cent per pound continue to be
placed into escrow until further order of the court.

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